Case 2:18-cv-05052-SJO-FFM Document 38 Filed 07/24/18 Page 1 of 2 Page ID #:685

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  STEPHANIE CLIFFORD                                                 2:18−cv−05052−SJO−FFM
                                                   Plaintiff(s),

           v.
  KEITH M. DAVIDSON, et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         7/9/2018
  Document Number(s):                 26
  Title of Document(s):               Memoranum in support of motion to strike by Michael Cohen
  ERROR(S) WITH DOCUMENT:

  Incorrect event selected. Correct event to be used is: Motion : Strike




  Other:

  Correct event to be used is: Motion : Strike. Other error(s) with document(s): Clerk inadvertently did not find
  the error until this date. No motion was set on Judge's Motion Calendar for August 6 2018, 10:00 AM.
  However other parties have been responding to the filing
  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                  Clerk, U.S. District Court

  Dated: July 24, 2018                            By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                     Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge


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Case 2:18-cv-05052-SJO-FFM Document 38 Filed 07/24/18 Page 2 of 2 Page ID #:686
     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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